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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


 PRESIDENT AND FELLOWS OF HARVARD
 COLLEGE,

                Plaintiff,
                                                                 Case No. 25-cv-11472
       v.

 DEPARTMENT OF HOMELAND SECURITY,
 et al.,

                Defendants.


                     [PROPOSED] ORDER GRANTING PLAINTIFF’S
                      MOTION FOR A PRELIMINARY INJUNCTION

       The Court hereby grants Plaintiff’s Motion and enters a preliminary injunction order

pursuant to Fed. R. Civ. P. 65(a) against Defendants United States Department of Homeland

Security, Kristi Noem, United States Immigration and Customs Enforcement, Todd Lyons,

Student and Exchange Visitor Program, John Doe, James Hicks, United States Department of

Justice, Pamela Bondi, United States Department of State, and Marco Rubio (collectively,

“Defendants”). Defendants, their agents, and anyone acting in concert or participation with

Defendants are hereby:

       A. Enjoined from implementing, instituting, maintaining, or giving effect to the revocation

            of Plaintiff’s SEVP certification, including but not limited to through: the termination

            of Plaintiff’s SEVIS access; any determination that a visa holder has failed to maintain

            nonimmigrant status on the basis of the revocation of Plaintiff’s SEVP certification;

            any adverse action or determination with respect to a visa application on the basis of




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    the revocation of Plaintiff’s SEVP certification; or any denial of admission to the

    United States on the basis of the revocation of Plaintiff’s SEVP certification.

B. Enjoined from giving any force or effect to the Department of Homeland Security’s

    May 22, 2025 Revocation Notice, including but not limited to through: the termination

    of Harvard’s SEVIS access; any determination that a visa holder has failed to maintain

    nonimmigrant status on the basis of the Revocation Notice; any adverse action or

    determination with respect to a visa application on the basis of the Revocation Notice;

    or any denial of admission to the United States on the basis of the Revocation Notice.

C. Directed to immediately prepare guidance to Defendants’ officers, staff, employees,

    and contractors—including but not limited to those at each consulate, embassy, field

    office, and port of entry—to disregard the May 22, 2025 Revocation Notice and to

    restore every visa holder and applicant to the position that individual would have been

    in absent such Revocation Notice. Defendants’ proposed language for this guidance

    must be submitted to this Court within 24 hours of entry of this Order for Court

    approval, and must be issued by Defendants within 24 hours of Court approval.

D. Ordered to take, in good faith, such other steps as are necessary to prevent the

    implementation of or the giving effect to the May 22, 2025 Revocation Notice during

    the effective period of this Order.

E. Ordered to file a status report within 72 hours of entry of this Order describing the steps

    taken to ensure compliance with this Order and certifying compliance with its

    requirements.




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It is so ordered.


                                               District Judge




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